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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   JITENDRA JAIN, et al.,

        Plaintiffs,

   v.                                  Case No. 8:20-cv-2263-T-33JSS

   NEXGEN MEMANTINE,
   INC., et al.,

        Defendants.
   ______________________________/

                       ORDER APPOINTING MEDIATOR

        Pursuant to the Amended Notice of Mediation (Doc. # 71),

   filed on December 14, 2020, and in accordance with the rules

   governing mediation set forth in Chapter Nine of the Rules of

   the United States District Court for the Middle District of

   Florida, it is ORDERED that the following individual is hereby

   APPOINTED by the Court to serve as Mediator in this action:

        Name of Mediator:       Peter J. Grilli, Esq.

        Address:                3001 W. Azeele Street
                                Tampa, FL 33609

        Telephone:              (813) 874-1002

        By agreement of the parties, the mediation conference is

   scheduled for April 20, 2021 at 10:00 AM at the location

   listed above.
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         The parties are directed to mediate in good faith and to

   fully and faithfully explore every settlement opportunity.

   Furthermore, the Court directs that all counsel, parties,

   corporate representatives, and any other required claims

   professionals shall be present at the mediation conference

   with full authority to negotiate a settlement. The Court does

   not   allow   mediation   by   telephone    or   video   conference.

   Personal attendance is required. See Local Rule 9.05(c).

         Now that the mediation has been scheduled, the parties

   may not unilaterally reschedule the mediation conference — a

   motion must be filed, and leave of Court obtained, if they

   seek to reschedule the mediation. In the motion to reschedule,

   counsel must include the proposed date of rescheduling; the

   Court reserves the right to deny any motion that seeks to

   reschedule the mediation conference for a date beyond the

   mediation deadline previously set by the Court.

         Furthermore, neither party may cancel the mediation

   without first obtaining leave of Court, even if the parties

   have reached a settlement.

         DONE and ORDERED in Chambers in Tampa, Florida, this

   15th day of December, 2020.
